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                     IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

                                         §
MONICA ABBOUD,                           §
                      Plaintiff,         §
                                         §
vs.                                      §
                                         §     Civil Action No. 4:19-cv-01035
HEALTH INSURANCE                         §
INNOVATIONS, INC.,                       §
                                         §
                      Defendant.
                                         §
           DEFENDANT HEALTH INSURANCE INNOVATIONS, INC.’S
      MOTION TO DISMISS COMPLAINT AND SUPPORTING MEMORANDUM

       Defendant,     Health       Insurance   Innovations,     Inc.    (“HII”),    pursuant     to

Fed. R. Civ. P. 12(b)(2), hereby moves for the entry of an order dismissing Plaintiff’s Class

Action Complaint (ECF No. 1) for lack of personal jurisdiction. The grounds in support of this

Motion and the reasons why the Complaint should be dismissed for lack of personal jurisdiction

are as follows:

                         I.        SUMMARY OF THE ARGUMENT

       Plaintiff commenced this civil action and filed a Complaint asserting a claim for statutory

relief based upon an alleged unsolicited telephone call received by Plaintiff. The gravamen of the

Complaint is that this call was pre-recorded and autodialed, which constitutes a violation of the

Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq., (“TCPA”).

       By this Motion, and pursuant to Fed. R. Civ. P. 12(b)(2), HII requests that this Court

dismiss the Complaint for lack of personal jurisdiction. General and specific personal jurisdiction

over HII, a non-resident defendant, are absent. HII’s modest affiliations with the state of Texas

fall well shy of the high bar for general jurisdiction which requires a non-resident defendant

being “at home” in this state. Specific jurisdiction cannot be exercised because this action does
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not arise out of HII’s contacts with this state. Moreover, any “agency” theory of personal

jurisdiction was expressly rejected by the United States Supreme Court in a 2014 decision.

                     II.   NATURE AND STAGE OF THE PROCEEDING

       Plaintiff has filed this lawsuit against HII, seeking certification of a class action,

declaratory relief, and damages. The Complaint was filed on March 20, 2019, and HII was

served on March 25, 2019. On April 16, 2019, the Court granted Defendant’s Unopposed Motion

for Extension of Time to Respond to Complaint, which extended HII’s response deadline until

May 6, 2019.

                            III.    ISSUES TO BE RULED UPON

       The issue to be ruled upon by the Court is whether the Court should dismiss Plaintiff’s

suit against HII pursuant to Rule 12(b)(2) where there is no general or specific jurisdiction over

HII in this forum.

                             IV.     FACTUAL ALLEGATIONS

       Plaintiff is a resident of Texas and commenced this action against HII on behalf of herself

and others similarly situated. Plaintiff alleges that HII is a foreign corporation. Compl. ¶5.

Plaintiff asserts that “agents or employees of HII” initiated an unsolicited telemarketing call to

Plaintiff’s cellphone. Id. at ¶19. Plaintiff claims this call was received “on or about

November 1, 2018,” and that the “call was pre-recorded.” Id. at ¶17.

       The Complaint contains a single cause of action against HII: the placing of an auto-dialed

and pre-recorded call in violation of the TCPA. Plaintiff’s claim rests solely on the theory an HII

employee and/or agent is responsible for placing the call. Compl. ¶¶2, 7, 13 and 19.




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 V.     ARGUMENT: THERE IS NO PERSONAL JURISDICTION OVER HII IN THIS
                                  FORUM

       The assertion of personal jurisdiction by a federal district court over a non-resident of the

state in which the federal court sits is limited by the Due Process Clause of the Fourteenth

Amendment. Clemens v. McNamee, 615 F.3d 374, 378 (5th Cir. 2010). Texas’ long-arm

jurisdiction law is coextensive with the limits of the Due Process Clause. See Tex. Civ. Prac. &

Rem. Code Ann. § 17.001–17.093; Head v. Las Vegas Sands, LLC, 298 F. Supp. 3d 963, 969

(S.D. Tex. 2018).

       In response to a motion to dismiss for lack of personal jurisdiction, the initial burden is

upon the plaintiff to establish sufficient facts to support the existence of jurisdiction. Monkton

Ins. Servs., Ltd. v. Ritter, 768 F.3d 429, 431 (5th Cir. 2014). Plaintiff cannot simply rely upon the

allegations in the Complaint. Sangha v. Navig8 ShipManagement Private Ltd., 882 F.3d 96, 102

(5th Cir. 2018). Personal jurisdiction can only be established by demonstrating the existence of

either general jurisdiction or specific jurisdiction over a non-resident defendant. Goodyear

Dunlop Tire Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011). General jurisdiction permits a

court to hear all claims against the non-resident defendant “essentially at home in the forum

State”; however, specific jurisdiction over a defendant is confined to claims connected to the

non-resident defendant’s activities in the forum. Id.

       In a trilogy of cases, the Supreme Court addressed the contours of general and specific

jurisdiction. In Daimler AG v. Bauman, 571 U.S. 117 (2014), the Court surveyed the

development of recent personal jurisdiction theory and gathered two sets of simple jurisdictional

rules to promote greater predictability.

       Specific jurisdiction may be properly exercised where the action arises out of or relates to

the non-resident defendant’s contacts with the forum. Id. at 127. A court may assert general



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jurisdiction under “only a limited set of affiliations with a forum.” Id. at 137. With respect to a

corporation, it is where the corporation is “at home.” Id. (citations omitted). Within this context,

the Daimler Court emphasized that the “paradigm forum” for exercising all-purpose general

jurisdiction is the foreign corporation’s place of incorporation and principal place of business,

subject only to the “exceptional case” where the corporation’s operations are “so substantial and

of such a nature as to render the corporation at home in that State.” Id. at 138 and 139 n.19.

       Following the Daimler decision, the Supreme Court in two opinions further clarified the

jurisdictional rules for general and specific jurisdiction. In BNSF Ry. Co. v. Tyrrell, 137 S. Ct.

1549 (2017), the Supreme Court reinforced the core holding in Daimler that the paradigm forum

for general all-purpose jurisdiction over a foreign corporation is the state of incorporation or the

principal place of business. Id. at 1558. For the “exceptional case” in which a foreign corporate

defendant’s operations in the forum are so substantial that a corporation is “at home” in state, the

Supreme Court cautioned that the general jurisdiction analysis does not turn on the amount of the

contacts. Id. at 1559. To the contrary, the essential inquiry demands an appraisal of the overall

activities of the business. Id. This holistic approach weeds out false positives as companies that

conduct business in several states “can scarcely be deemed at home in all of them.” Id. (quoting

Daimler, 571 U.S. at 139 n.20).

       To underscore the significant bar that must be met to establish the “exceptional case” for

general jurisdiction, the Supreme Court in BNSF Ry. held that the non-resident corporation’s

2,000 miles of railroad track (6% of its total track), employment of more than 2,000 workers

(less than 5% of its total workforce) and only one of its 24 facilities (4%), along with less than

10% of its revenues generated in the State, fell well shy of presenting the exceptional case for the

non-resident corporate defendant to be “at home” in the forum. Id. at 1554. Expressed as a




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bright-line threshold, even a measurable amount of activity by a business enterprise “does not

suffice to permit the assertion of general jurisdiction.” Id. at 1559.

       In Bristol-Myers Squibb Co. v. Superior Court of California, 137 S. Ct. 1773, 1781

(2017), the Supreme Court applied the “settled principles regarding specific jurisdiction” to

emphasize the requisite nexus between the foreign corporation’s affiliation with the forum and

the underlying claim. Regardless of the level of activities within the forum, specific jurisdiction

is absent where the underlying claim has no connection with these activities. Id. Case specific

jurisdiction may only be exercised where the suit arises out of or relates to the non-resident

defendant’s contacts with the forum. Id. at 1780.

       With regard to an imputed theory of personal jurisdiction, the Daimler Court expressly

rejected “agency” as a basis for such, 571 U.S. at 136, and recent case law in this District has

backed this notion. See Air Tropiques, Sprl v. N. & W. Ins. Co., 2014 WL 1323046, at *11 (S.D.

Tex. Mar. 31, 2014).

       A.      General Jurisdiction is absent because HII is “not at home” in the State of
               Texas.

       As emphasized in Daimler, “only a limited set of affiliations with a forum will render a

defendant amenable to all-purpose jurisdiction there. ‘For an individual, the paradigm forum for

the exercise of general jurisdiction is the individual’s domicile; for a corporation, it is an

equivalent place, one in which the corporation is fairly regarded as at home.’” Daimler, 571 U.S.

at 137 (quoting Goodyear, 564 U.S. at 924). The Daimler Court further explained:

       With respect to a corporation, the place of incorporation and principal place of
       business are “paradig[m] . . . bases for general jurisdiction.” Those affiliations
       have the virtue of being unique—that is, each ordinarily indicates only one
       place—as well as easily ascertainable. These bases afford plaintiffs recourse to at
       least one clear and certain forum in which a corporate defendant may be sued on
       any and all claims.

Id. (citations omitted). See Monkton Ins. Servs., Ltd., 768 at 432.


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        As a threshold matter, HII is a Delaware limited liability company and maintains its

principal place of business in Tampa, Florida. Exhibit A, Gillis Decl. ¶3. Consequently, under

Daimler, the paradigm forum for general jurisdiction over HII is limited to Delaware or Florida.

        Moreover, HII does not “fit into that small, undefined category of other situations in

which a foreign corporation is nonetheless essentially at home in” the forum state. Gonzales v.

Seadrill Americas, Inc., 2014 WL 2932241, at *3 (S.D. Tex. June 27, 2014) (citations omitted).

HII has never maintained any corporate offices in Texas, and does not own any real property or

maintain any bank accounts in Texas. Ex. A, Gillis Decl. ¶¶9 and 10. As an organization, HII has

approximately 215 employees, of which 38 are employed by American Service Insurance

Agency, LLC. Id. at ¶11. In 2018, HII had consolidated revenues of approximately

$351,097,000, of which approximately $707,541 is attributable to business in Texas, or less than

1%. Id. at ¶18. While HII maintains a website, it is generally accessible worldwide and is not

specifically directed to residents of Texas for the solicitation of business. Id. at ¶19. Furthermore,

HII maintains no physical infrastructure or ability to initiate telephone calls from within Texas.

Id. at ¶20.

        The decision in BNSF Ry. makes clear that based upon these affiliations it cannot be said

that HII is “so heavily engaged in activity” in Texas to render it essentially “at home” in that

state. 137 S. Ct. at 1559. HII’s registration to do business in Texas also is insufficient under

Daimler and BNSF Ry. to confer general jurisdiction in Texas.

        The precedent in Daimler and BNSF Ry. was applied in recent decisions in this District.

In Agribusiness United DMCC v. Blue Water Shipping Co., Inc., the Court granted the

defendant’s motion to dismiss for lack of personal jurisdiction finding that the defendant’s

contacts were not sufficient to establish that the company was at home in Texas.




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2017 WL 1354144, at *6 (S.D. Tex. Apr. 13, 2017). In reaching this conclusion, the court

reasoned that maintaining an office and having a registered agent in Texas did not reflect that the

defendant had “an expectation of being haled into court for activities unrelated to [its] contacts

with Texas.” Id.; see also Haskett v. Cont'l Land Res., LLC, 2015 WL 1419731 (S.D. Tex.

Mar. 27, 2015), vacated & rev'd in part on other grounds, 668 F. App’x 133 (5th Cir. 2016).

       B.      Specific Jurisdiction is absent because HII’s in-state activities did not
               give rise to the claims asserted in this action.
       As reinforced in Bristol-Myers, specific jurisdiction can be exercised only when the

action arises out of or relates to the activities of the non-resident defendant in the forum.

137 S. Ct at 1780. Whether the Fifth Circuit uses a “but for” test or a more narrow approach to

determine if the action arises out of or relates to a defendant’s contacts with the forum is not

crystal clear. See Breathwit Marine Contractors, Ltd. v. Deloach Marine Servs., LLC, 994

F. Supp. 2d 845, 851 (S.D. Tex. 2014); see also Head, 298 F. Supp. 3d at 971 (S.D. Tex. 2018).

Nevertheless, Plaintiff’s claims fail to demonstrate a connection between HII’s contacts with

Texas and the alleged injury under even the broadest causation analysis.

       Defendant merely states that the purported calls were made by agents or employees of

HII and were initiated at the direction of HII. These bare allegations are not supported by any

other facts in the Complaint because they are not rooted in truth. Plaintiff cannot utilize such

boilerplate assertions to hail HII into the forum. See Panda Brandywine Corp. v. Potomac Elec.

Power Co., 253 F.3d 865, 869 (5th Cir. 2001).

       Indeed, “supporting allegations may not be vague, overgeneralized, or conclusory.”

Head, 298 F. Supp. 3d at 973 (S.D. Tex. 2018) (citations omitted). Plaintiff’s assertions

regarding HII’s connection to the alleged calls can be described as all three. The statements are

conclusory because they provide no details explaining exactly who the call originated from or



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how this alleged caller is related to HII in any way. It is also overgeneralized and vague because

it merely states that calls were made by an employee or an agent of HII and that HII knew about,

directed, “and/or” ratified the calls. Compl. ¶13. The Court’s decision in Head accentuates that

lumping allegations together in this fashion in hopes that one sticks is not sufficient to establish

personal jurisdiction. Id.

       Here, as in the facts before the Supreme Court in Bristol-Myers, there is no connection

between HII’s activities in Texas and the alleged calls made. Looking past the form language in

the Complaint collapses Plaintiff’s claim that the Court has specific jurisdiction over HII. None

of HII’s business activities in Texas resulted in any calls being made to Plaintiff.

       C.      Personal jurisdiction over HII cannot be established based on agency
               theory.
       If Plaintiff had put forth more than conclusory allegations that an agent of HII made these

calls, a claim that the actions of the agent gives this Court a basis for exercising personal

jurisdiction over HII is legally flawed. Any claim of personal jurisdiction based on a mere

agency relationship has been foreclosed by the Supreme Court in Daimler. See Bavikatte v. Polar

Latitudes, Inc., 2015 WL 8489997, at *4 (W.D. Tex. Dec. 8, 2015); see also Air Tropiques,

2014 WL 1323046, at *11 (S.D. Tex. Mar. 31, 2014). Indeed, the Supreme Court in Daimler

specifically invalidated agency as a basis for invoking personal jurisdiction because it “stacks the

deck.” 571 U.S. at 136.

       To establish personal jurisdiction, the claims must arise out of contacts that the defendant

itself created. Air Tropiques, 2014 WL 1323046, at *11 (citing Burger King Corp. v. Rudzewicz,

471 U.S. 462 (1985). A call allegedly made by an agent of HII to Plaintiff is not a contact created

by HII. To contrary, it is a contact initiated and made by a third party. The activities of a third

party are not an appropriate consideration when determining whether HII’s due process rights



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would be violated by establishing jurisdiction over it in this matter. See id. Thus, for purposes of

personal jurisdiction, there is no basis for imputing any of the actions of an alleged agent to HII.

                                     VI.     CONCLUSION

       This action should be dismissed for lack of personal jurisdiction over HII. HII’s

connection with Texas is wholly inadequate to satisfy the “at home” requirement for exercising

general all-purpose general jurisdiction over this non-resident defendant.

       Furthermore, HII’s modest affiliations with Texas are unrelated to Plaintiff’s claims.

Therefore, the “but for” test is not satisfied and there is no basis for exercising case specific

jurisdiction in this forum. Nor is there any basis for exercising personal jurisdiction over HII

based upon an agency theory.

Dated: May 6, 2019

                                           By: /s/ Garry W. O’Donnell
                                             Garry W. O’Donnell, Esq.
                                             Admitted pro hac vice
                                             Florida Bar No. 0478148
                                             GREENSPOON MARDER LLP
                                             One Boca Place
                                             2255 Glades Road, Suite 400-E
                                             Boca Raton, Florida 33431
                                             Telephone: (561) 994-2212
                                             Facsimile: (561) 807-7527
                                             garry.odonnell@gmlaw.com
                                             Attorney-in-Charge for Defendant,
                                             Health Insurance Innovations, Inc.




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Of Counsel:

      John Irvine
      Texas State Bar No: 10423300
      Fed. ID: 61399
      (713) 226-6605 (telephone)
      (713) 226-6205 (facsimile)
      jirvine@porterhedges.com
      Jamie Godsey
      Texas State Bar No: 24097741
      Fed. ID: 2771744
      (713) 226-6752 (telephone)
      (713) 226-6352 (facsimile)
      jgodsey@porterhedges.com
      PORTER HEDGES LLP
      1000 Main Street, 36th Floor
      Houston, Texas 77002




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that the foregoing document was filed with the Clerk of Court

using the Court’s CM/ECF system on this 6th day of May, 2019, which will generate notification

to all counsel of record or pro se parties identified below, thereby notifying the following parties

of record below:

W. Craft Hughes, Esq.                              Steven L. Woodrow, Esq.
craft@hughesellzey.com                             Admitted pro hac vice
HUGHES ELLZEY, LLP                                 swoodrow@woodrowpeluso.com
1105 Milford Street                                Patrick H. Peluso, Esq.
Houston, Texas 77006                               Admitted pro hac vice
Telephone: (713) 322-6387                          ppeluso@woodrowpeluso.com
Facsimile: (888) 995-3335                          Taylor T. Smith, Esq.
Attorneys for Plaintiff, Monica Abboud             Admitted pro hac vice
                                                   tsmith@woodrowpeluso.com
                                                   WOODROW & PELUSO, LLC
                                                   3900 East Mexico Avenue, Suite 300
                                                   Denver, Colorado 80210
                                                   Telephone: (720) 213-0675
                                                   Facsimile: (303) 927-0809
                                                   Co-Counsel for Plaintiff, Monica Abboud


                                              By: /s/ Garry W. O’Donnell
                                                 Garry W. O’Donnell, Esq.




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